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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTICT OF MICHIGAN
                            SOUTHERN DIVISION

TIMOTHY KING, et al

                     Plaintiffs,            Civil Action No. 20-13134
                                            Honorable Linda V. Parker
v.

GRETCHEN WHITMER, et al

               Defendants.
__________________________________/

                                   ORDER STRIKING

The Court has reviewed the following document: Motion for Extension of Time
(ECF No. 80). The Court finds that it should be stricken for the following reasons:

      Missing statement of concurrence. See LR 7.1(a).

      Over-length. See LR 7.1(d)(3).

      Wrong font size. See LR 5.1(a)(3).

      Missing required information (e.g.), concise statement of issues, controlling

        or most appropriate authority, etc.). See LR 7.1(d)(2).

      Improperly formatted (e.g., single-spaced, improper margins, missing page

        numbers, etc.). See LR 5.1(a)(2).

      Does not comply with the Case Management Order in this case for the

        following reasons:

     X
      Other - Filing does not comply with E.D. MI. L.R. 7.1(b)(1) and 7.1(d).
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Accordingly, the Court strikes the document. Plaintiffs shall file a proper motion

that complies with all requirements, by the close of business on January 12, 2021.

      IT IS SO ORDERED.

                                             s/ Linda V. Parker
                                             LINDA V. PARKER
                                             U.S. DISTRICT JUDGE

Dated: January 12, 2021
